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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


MICHAEL CLOUD,

            Plaintiff,

      v.                                   Civil Action No. 3:20-cv-01277-S

THE BERT BELL/PETE ROZELLE NFL
PLAYER RETIREMENT PLAN,

            Defendant.



  DEFENDANT’S OPPOSITION TO PLAINTIFF’S MOTION FOR JUDGMENT ON
     THE ADMINISTRATIVE RECORD AND OTHER EVIDENCE OF PLAN
 INTERPRETATIONS AND VIOLATIONS OF ERISA (PURSUANT TO FRCP 52(a))
       OR, ALTERNATIVELY, MOTION FOR SUMMARY JUDGMENT




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                                         INTRODUCTION

       Cloud’s conspiracy theories and innuendo do not change the pertinent facts of this case,

which show that the Board’s decision to deny Cloud’s 2016 reclassification request was not only

reasonable, but objectively correct. The Court can and should affirm the Board’s decision on any

one or all of three independent bases.

       First, Cloud missed the 180-day deadline to file his administrative appeal.

       •   Cloud asserts that nothing in the Administrative Record shows when he
           received the decision letter that triggered the 180-day deadline. But the Plan’s
           records show the exact time and date the FedEx package was delivered to
           Cloud. See AR-524-529. See also infra at 6.

       •   The Court rejected Cloud’s attempt to introduce extrinsic evidence on the
           timing of the FedEx delivery (because the evidence was not before the Board).
           Cloud cannot circumvent the Court’s order by now saying he recalls receiving
           the FedEx delivery later than the Plan’s records reflect (exactly 180 days before
           the Plan received his appeal). At his deposition, Cloud testified he had no
           recollection of the FedEx delivery. See App.1 989 at 212:10-12; App. 1142.
           See also infra at 7.

       •   Arguing that Groom rather than the Board made the decision at issue – a theory
           the Court has rejected, see Dkt. 77 at 3 (“members of the Board . . . are the ones
           who decided his appeal and made the determination”) – Cloud claims that
           Groom conspired with others to “fabricate[] that ground for denial.” But e-
           mails Cloud obtained during discovery show that the Board considered the
           issue. See infra at 9.

       Second, Cloud failed to provide clear and convincing evidence of “changed circumstances”

showing that he was eligible for “Active Football” benefits, as required by the Plan.

       •   Cloud’s assertion that he presented new conditions or impairments to the Board
           in his 2016 reclassification request is belied by a side-by-side comparison of his
           2014 application and 2016 reclassification request. See Dkt. 162 at 34-36.
           Cloud purports to list for the Court the conditions contained in his 2014
           application and 2016 reclassification request – but his list from 2014 is
           incomplete. See infra at 11.


1
 References to App. in this brief refer to Plaintiff’s Appendix filed in connection with his Motion
for Judgment on the Administrative Record, Dkts. 160, 163–167.

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         •   Cloud’s claim that his expert witness, Dr. Wu, “confirmed” that Cloud
             presented “new conditions” in 2016 ignores that (1) Dr. Wu’s testimony is
             inadmissible, and (2) Dr. Wu                                   of the 2014
             and 2016 submissions. Compare Dkt. 156 (“Cloud Br.”) at 60-61 with App.
             6308 at 249:18-24. See also infra at 12.

         •   Any change in Cloud’s condition between 2014 and 2016 is not relevant to
             whether he presented changed circumstances showing his eligibility for Active
             Football benefits because, even on the new theory Cloud espouses, he would
             have had to show these changed conditions rendered him totally and
             permanently disabled at least seven years earlier than the 2014 application. See
             infra at 14.

         Third, Cloud failed to show that he was totally and permanently disabled “shortly after” –

within 6 months (but in no case more than 12 months) – his disability first arose. Cloud told the

Board he became totally disabled shortly after his disability first arose after an October 31, 2004

concussion, AR-291, but that is impossible because he continued to play professional football for

more than another year. These facts make him ineligible for Active Football benefits. Cloud

attempts to change the facts, and even argues for the first time that he need not satisfy the “shortly

after” requirement at all. Once again, Cloud’s arguments lack any merit:

         •   Cloud cannot pursue theories in federal court that were not presented to, and
             indeed contradict what he told the Board (and what he told the Court in his
             Complaint). Compare AR-291 (“the disability(ies) arose . . . [on] October 31,
             2004” following a “[h]elmet to helmet collision with the NY Giants in a game
             against the Minn[esota] Vikings”) (emphasis added) with Am. Compl. (Dkt.
             68), ¶ 42 (“Plaintiff was totally and permanently disabled ‘shortly after’ the
             disabilities arose at the conclusion of the 2005 NFL football season”)
             (emphasis added). See also infra at 16.

         •   Even if Cloud could present a new timeline of events to attempt to show that he
             satisfies the “shortly after” requirement, he relies on testimony from Dr. Wu
             concerning the merits of this case, which the Court ruled would not be
             considered. Dkt. 151 at 3 (“Dr. Wu’s testimony and the aforementioned
             exhibits will not be considered for the purpose of resolving ‘disputed material
             facts’ or the ‘merits of the claim itself.’”) (quoting Vega v. Nat’l Life Ins. Servs.,
             Inc., 188 F.3d 287, 299-300 (5th Cir. 1999)2). See also infra at 17.


2
    Overruling recognized, Newsom v. Reliance Standard Life Ins. Co., 26 F.4th 329 (5th Cir. 2022)

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       •   Even if Dr. Wu’s testimony on the merits could be considered, there is no
           medical basis for any of the three pillars of his conclusion that Cloud was totally
           and permanently disabled within the requisite “shortly after” period, each of
           which the record shows are not true. See infra at 18.

       •   Cloud’s new argument that a “Special Rule” in the Plan exempts players with
           concussions from satisfying the “shortly after” requirement misquotes the Plan
           by omitting the determinative provision, is contradicted by federal court
           precedent, and has been doubly waived. See infra at 20.

       The Court can fast-forward to page 57 of Cloud’s 63-page brief, where his argument on

these three, dispositive issues begins. If the Court agrees with Defendant on even one issue, it can

enter judgment against Cloud without going further. Cloud devotes most of his brief to complaints

which – even if true – would not entitle him to benefits under the Plan. Rather, Cloud argues the

problems he perceives warrant de novo review. See Cloud Br. at 43. Since the Court ruled abuse

of discretion review would apply, Dkt. 71 at 5 (“[I]n this action, the Court will ultimately review

the Board’s interpretation and benefits determination under an abuse of discretion standard.”), and

the Board’s decision can be affirmed even under de novo review, the Court need not reach any of

these other largely irrelevant and false claims in Cloud’s brief – many of which do not even relate

to his 2016 reclassification request.

       Cloud sees it as improper for the Board to have reviewed his applications and the

statements and records he submitted with them without conducting its own additional

investigations. But the Fifth Circuit has made clear that “the district court may not impose a duty

to reasonably investigate on the administrator.” Vega v. Nat'l Life Ins. Servs., Inc., 188 F.3d 287,

299 (5th Cir. 1999) (en banc) (emphasis added).3 Moreover, the Fifth Circuit “has rejected

arguments to alter the standard of review based on procedural irregularities in ERISA benefit



3
 Overruled on other grounds as recognized by Youboty v. NFL Player Disability, No, 20- 40613,
2021 WL 1533662 (5th Cir. Apr. 16, 2021).

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determinations, such as delays in making a determination.” Atkins v. Bert Bell/Pete Rozelle NFL

Player Ret. Plan, 694 F.3d 557, 567 (5th Cir. 2012).4 Cloud’s complaints of supposed procedural

irregularities therefore would not accomplish his stated goal of obtaining de novo review,

providing yet another reason they need not be considered.

       In the end, despite all the discovery, it’s also clear that the irregularities Cloud trumpeted

do not even exist. A few examples suffice to show that there is no basis for Cloud’s claims:

       •   Cloud charged that Defendant obstructed his pursuit of benefits by failing to
           provide requested medical records. Having now been afforded extensive
           discovery, Cloud has presented no support that Defendant ignored even a single
           records request, much less one material to his pursuit of additional benefits in
           2016.

       •   Cloud accuses Defendant of “burying” a 2010 report from Plan Neutral
           neurologist, Dr. DiDio. See, e.g., Cloud Br. at 38 (“Defendant buried the DiDio
           Report”). This is unfounded. Cloud requested and received a copy of the report
           in 2010, submitted it to the Social Security Administration in 2012, it was
           included in the Administrative Record twice because it was considered in
           connection with both his 2014 application and 2016 reclassification request,
           and it was noted in the one-page “claim summary” provided to the Board in
           November 2016. See infra at 25.

       •   Cloud posits that “[n]ever has an ERISA plan given so little effort in evaluating
           the claim of a beneficiary whom it acknowledges is totally and permanently
           disabled . . . .” Cloud Br. at 43. Actually, it is possible that never has an ERISA
           plan given so much review to such an obviously unmeritorious claim. As Cloud
           acknowledges, the Plan has an initial claims Committee of NFLPA and
           management representatives and a six-member Board with three NFLPA and
           three management representatives, each of whom have counsel, advisors and
           caucuses – all of whom reviewed Cloud’s claim.



4
  See also Wade v. Hewlett Packard Dev. Co. LP Short Term Disability Plan, 493 F.3d 533, 538
(5th Cir. 2007) (“Next, Wade encourages us to heighten our standard of review due to the
procedural irregularities in the handling of his claim, which he alleges violated ERISA and the
regulations promulgated thereunder, effectively denying him a full and fair review. Wade has
cited no direct authority by the Supreme Court or the Fifth Circuit dictating a change in the
standard of review based upon procedural irregularities alone, and we see no reason to impose
one.”), abrogated on other grounds by Theriot v. Bldg. Trades United Pension Tr. Fund, 850 F.
App’x 231 (5th Cir. 2021).

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       •     If the Plan operated with the haphazard decision-making Cloud suggests, it
             should frequently reach inconsistent results. Cloud alleged so in his Amended
             Complaint and claimed he had found inconsistent decision letters relating to
             other players when he moved to supplement the administrative record. See Am.
             Compl. (Dkt. 68), ¶ 61; Dkt. 105 at 31. The one and only so-called “similar
             case” Cloud attempts to identify is distinguishable. See infra at 29.

       Cloud’s combative tone and rhetoric should not distract the Court from the merits of his

claim and the actual, narrow issues of this case that warrant the entry of summary judgment for

Defendant.

                                          ARGUMENT

I.     Cloud Fails to Demonstrate He is Entitled to Reclassification to Active Football
       Benefits.
       The Court should affirm the Board’s decision on three independent bases, regardless of the

standard of review. It bears emphasis at the outset that Cloud does not argue that any of the three

bases can be reversed under the abuse of discretion standard of review the Court already ruled

would apply. Compare Dkt. 71 at 5 (“[I]n this action, the Court will ultimately review the Board’s

interpretation and benefits determination under an abuse of discretion standard.”); with Cloud Br.

at 57 (arguing that “[u]nder a de novo review . . . Cloud is entitled to T&P Benefits (Active

Football)”).

       A.        Cloud’s Administrative Appeal Was Untimely.

       The Plan imposes a 180-day deadline for administrative appeals, which runs from the date

the Player receives the Committee’s initial decision letter until the date the appeal submission is

received by the NFLPBO. PD §§ 12.6(a) (AR-61), 12.8 (AR-64). Because Plan records indicate

that Cloud received the Committee decision letter on March 4, 2016, and there is no dispute that

his appeal was received on September 2, 2016 – 182 days later, and two days late – the Board was

justified in denying his reclassification request for this reason alone. See Fortier v. Hartford Life

& Accident Ins. Co., 916 F.3d 74, 83 (1st Cir. 2019) (“The 180-day time limit began at the receipt

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of this letter, and so Fortier’s attempted appeal in March 2014 was untimely. In the ERISA context,

haphazard waiver of time limits would increase the probability of inconsistent results.”) (cleaned

up); Green v. Union Sec. Ins. Co., No. 4:11-CV-860-A, 2013 WL 300918, at *4 (N.D. Tex. Jan.

25, 2013) (noting that “[s]trict compliance with the plan’s procedures for claims, including all

internal appeals processes, is required,” and granting judgment in favor of plan administrator that

rejected an appeal submitted three weeks after 180-day deadline).

       Cloud challenges the Board’s determination that his appeal was untimely on two bases: (i)

Cloud supposedly received the Committee letter on March 6, 2016, not March 4, 2016, thereby

making his appeal timely; and (ii) the Board supposedly did not actually deny his appeal on the

basis that it was untimely. As discussed below, both of these arguments are without merit.

               1.     Cloud received the Committee’s decision letter on March 4, 2016, and the
                      Court should reject Cloud’s attempts to show otherwise.

       Cloud inaccurately asserts that “nothing in the AR reflects Defendant’s supporting

‘records’ as to when Cloud actually received the 2016 Decision Letter triggering his appeal

timeline,” and that “[t]here is no evidence to show when the FedEx package was left.” Cloud Br.

at 35, 62. FedEx tracking data in the Administrative Record indicates that the package sent to

“Michael Cloud” on “3/2/2016” (the date of the Committee’s letter) at “120 Mont Blanc Drive” in

“Rockwall” “TX” (Cloud’s home address) had a “Shipment Delivery Date” of “3/4/2016” and a

“Shipment Delivery Time” of “14:07.” See AR-524-529. See also 11/8/16 E-mail fr. S. Vincent




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Supp. App.5 4 (“confirm[ing] that it was [signed for and] received by [Cloud] on 3/4/2016 via

FedEx”).6

       To undermine this business record, Cloud moved to supplement the Administrative Record

with evidence he claimed showed “that the FedEx tracking number relied upon does not exist.”

Dkt. 105 at 30. The Court denied Cloud’s motion because Cloud’s “FedEx tracking information

(Exhibit 13) . . . do[es] not fall within any of the [Crosby] exceptions.” Dkt. 141 at 6. Cloud re-

presents the same evidence, this time in the form of his deposition testimony. See Cloud Br. at 22

n.142 (citing Cloud’s testimony that he “attempted to run the shipment tracking number through

the Fed Ex system and there’s no hit it doesn’t exist”) (cleaned up).7 Cloud’s deposition testimony

is inadmissible for the same reason that the Court excluded his recent FedEx tracking results.8

       Even were the Court to consider Cloud’s testimony regarding the delivery of the package,

it is insufficient to create a genuine dispute of material fact. At his deposition, Cloud testified that

he had no recollection of whether he received a FedEx package with the denial letter. See App.

989 at 212:10-12 (“Q. Do you recall whether you received a FedEx package at all with the denial

letter in it? A. I don’t recall, no.”). Yet, Cloud now claims to recall not only receiving the package,


5
  References to Supp. App. in this brief refer to Defendant’s Supplemental Appendix filed
concurrently with this brief.
6
 Cloud’s observation that someone else signed for a FedEx package addressed to him in August
2021, see Cloud Br. at 35 n.225, after he left the State of Texas without informing the Plan, is of
no probative value. See Dkt. 149 at 6-7.
7
  The fact that the Court, in the same order, allowed all of the deposition transcripts to be admitted
to the record as “relate[d] to whether the administrative record submitted is complete and/or
whether the plan administrator complied with ERISA’s procedural regulations,” Dkt. 141 at 6,
does not mean that Cloud may rely on portions of the transcripts that address other topics,
particularly topics this Court ruled do not meet any Crosby exception.
8
  Even if this evidence were considered, it would be of no probative value because, as noted in
Defendant’s Opposition to Plaintiff’s Motion to Supplement the Administrative Record, FedEx
“tracking information is [only publicly] available for 90 days after delivery” on FedEx’s website.
Dkt. 120 at 13 (cleaned up) (citing FedEx website).

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but that he “recalls his receipt [of it] on March 6, 2016,” as set forth in his errata, where he claims

that “after looking at a calendar I recall the date I received the appeal [sic] was Sunday, March 6,

2016.” See Cloud Br. at 22 n.142; App. 1142. It defies logic that looking at a calendar five years

later would help Cloud recall when he received a FedEx package that he had no recollection of

ever receiving at all. It also defies logic that Cloud would wait more than five years to investigate

after being told his claim was denied because he “received the decision letter on March 4, 2016”

making his appeal “two days” late. AR-520. There is no basis to credit this explanation – which

the Board did not have before it – over the Plan’s contemporaneous business records.

       Nor is there merit to Cloud’s assertion that “Defendant was required to ensure Cloud’s

actual receipt via USPS” under a federal regulation requiring the “plan administrator [to] use

measures reasonably calculated to ensure actual receipt . . . .” Cloud Br. at 22 n.142 (citing 29

C.F.R. § 2520.104b-1).9 First, the “the question [under the regulation] is not whether there was

actual receipt by the plaintiffs, but rather whether the plan administrator ‘use[d] measures

reasonably calculated to ensure actual receipt.’” Custer v. Murphy Oil USA, Inc., 503 F.3d 415,

419 (5th Cir. 2007) (second alteration in original) (citing 29 C.F.R. § 2520.104b–1(b)(1)).10

Second, “[s]ervice made by FedEx or UPS . . . are reasonably calculated to ensure receipt . . . .”

TracFone Wireless, Inc. v. CNT Wireless LLC, No. 1:19-CV-24325-DPG, 2019 WL 5863911, at



9
  The fact that the regulation says “[m]aterial distributed through the mail may be second by first,
second, or third-class mail,” 29 C.F.R. § 2520.104b–1(b)(1) (emphasis added), does not mean that
those are the exclusive methods. See Klotz v. Xerox Corp., 332 F. App’x 668, 670 (2d Cir. 2009)
(holding that delivery of a decision letter to participant’s attorney by fax satisfied the regulation,
noting that “[t]he use of the plural ‘measures’ in the regulation implies that no particular method
of notification is required, and that administrators have discretion to determine the appropriate
delivery method in a given case.”).
10
   The fact that the Plan, which maintains a staffed office, requires “actual receipt” of documents
from players, see Cloud Br. at 62 n.332, does alter the governing regulation which requires plans
sending mail to claimants to use “measures reasonably calculated to ensure actual receipt.”

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*2 (S.D. Fla. Nov. 8, 2019) (applying the “reasonably calculated to ensure actual receipt” standard

in the context of a Rule 45 subpoena).

               2.     The decision letter shows that the Board denied Cloud’s appeal because it
                      was untimely. If de novo review applies, the Court should reach the same
                      conclusion.

       Citing ambiguous e-mails and meeting minutes, Cloud alleges the Board itself did not find

Cloud’s appeal untimely. See Cloud Br. at 35 (“The Board did not make that finding, email

communications between Vincent and Marshall after the Board Meeting prove they did not

(Vincent ultimately did not include it in the ‘decision sheet’ emailed to Maroz)…”); id. at 61-62

(“Groom, the PBO (Vincent), and NFLPA lawyer fabricated that ground for denial before and after

the Board meeting.…”). But an e-mail he cites in support of his “fabricat[ion]” theory confirms

that the untimeliness of the appeal was discussed with Board members, and that they reacted

strongly upon learning that a Player, particularly one represented by counsel, had failed to follow

the Plan’s rules for filing timely appeals. See App. 5790 (“when we discussed it they all looked at

me like I was crazy”). Nor is there anything unusual about the fact that Board minutes do not

always reflect every word spoken at a meeting, as Mr. Cass explained when cross-examined about

the brevity of the minutes of the November 2016 Board meeting:

       Q.      [By Mr. Dennie] And you’re flipping through the minutes now --
       A.      Yes.
       Q.      -- that are marked as Exhibit 12. As it pertains specifically to Mr. Cloud’s
       case, does that accurately reflect the board’s decision?
       A.      It’s a shortened version of the decision, really.
       .…
       Q.      You didn’t add anything to Deposition Exhibit 12 as it pertains to Mr.
       Cloud’s case for any other provision that may be applicable to the decision reached
       by the board; is that correct?
       A.      That’s correct. And that’s because this is a summary of the decision, a brief
       description. The letter that we sent out would have all of the reasons in it, and there
       was -- as you well know, there was an additional reason why the appeal was denied.

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       And it was not -- that was not reflected here, but the official letter that goes out is
       part of the record in this case. This is only part of the administrative record.
       Q.       So where are we supposed to find specifically what the board discussed if
       it’s not all in the minutes marked as Deposition Exhibit 12?
       A.     Well, it’s not -- it doesn’t have to be in the minutes because it’s -- our
       decision is reflected also in the letter that went out to Mr. Cloud.
       Q.     Why --
       A.     And we’re responsible for that letter.
       Q.     Why put some provisions but not others?
       A.     It’s just a shorthand version of the decision.
       Q.     Well, you could have, shorthand version, just said, Cloud application
       denied, right?
       A.     We could. This was -- usually it would refer to the major reasons why it
       was, and maybe not all of the reasons.

App. 558 at 172:5-173:21.

       Cloud’s speculation about what was or was not discussed by and among the Board and its

advisers over the course of a two-day meeting more than five years ago is beside the point. Even

if the Court were to review the Administrative Record de novo as Cloud requests, the Court too

would have to conclude that Cloud’s appeal was untimely. The only credible, admissible evidence

shows that Cloud received the Committee’s decision letter on March 4, and the NFLPBO received

his appeal on September 2, more than 180 days later.

       B.     Cloud’s Request for Reclassification Did Not Satisfy the Changed
              Circumstances Requirement.

       As set forth in Defendants’ Motion for Summary Judgment, Cloud failed to “show[] by

evidence found by the Retirement Board … to be clear and convincing that, because of changed

circumstances, [he] satisfies the conditions of eligibility under a different category of T&P

benefits.” PD § 5.7(b) (AR-37) (emphasis added). See Dkt. 162 at 32-41. “The Retirement Board

interprets Section 5.7(b)’s ‘changed circumstances’ requirement to mean a new or different

impairment from the one that qualified you for T&P benefits.” AR-519. While, as discussed

                                                 10
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below, Cloud complains that minor differences in phrasing over the decades should impact the

standard of review, see infra at 29-33, he acknowledges that any such differences do not change

whether he qualifies for benefits under the terms of the Plan. See Cloud Br. at 60 (“No matter

which definition is employed, the evidence supports Changed Circumstances.”).

       Cloud claims to have met the changed circumstances requirement with new conditions in

his 2016 reclassification request not presented in his 2014 application. But (i) a side-by-side

comparison shows that no new conditions were presented in 2016; (ii) even if new conditions had

arisen between 2014 and 2016, Cloud could not be eligible for Active Football benefits because it

was impossible for Cloud to have been totally and permanently disabled by those new conditions

seven years earlier, as required to meet the “shortly after” provision; and (iii) a referral to another

Neutral Physician was not necessary, and is not relevant to whether Cloud satisfied the changed

circumstances requirement.

               1.      A Side-By-Side Comparison of Cloud’s 2014 and 2016 Applications
                       Confirms That He Did Not List Any New Conditions or Impairments.

       As set forth on pages 34 to 36 of Defendant’s Motion for Summary Judgment, a side-by-

side comparison of Cloud’s 2014 application and 2016 reclassification request shows that Cloud

listed substantially identical conditions in each. See Dkt. 162 at 34-36. Instead of confronting this

fact, which exists on the face of the Administration Record, Cloud engages in misdirection.

       First, Cloud claims that “Dr. Wu confirmed the 2016 Application presented new

conditions, including significant memory and attention problems, decision problems, and affective

disorders.” Cloud Br. at 60-61 (quoting App. 5746). But the Court already barred Dr. Wu’s

testimony on the merits, Dkt. 151 at 3 (“Dr. Wu’s testimony and the aforementioned exhibits will

not be considered for the purpose of resolving ‘disputed material facts’ or the ‘merits of the claim

itself.’”), and his testimony is further subject to a pending Daubert motion. See Dkt. 170;

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Velasquez v. EAN Holdings, LLC, No. 3:17-CV-1656-BH, 2018 WL 5924037, at *3 (N.D. Tex.

Nov. 13, 2018) (“Daubert standards apply not merely at trial, but also on summary judgment.”).

          Moreover, Dr. Wu did not “confirm” that Cloud presented new conditions. At his

deposition, Dr. Wu admitted that he “                                      .” See App. 6308 at

249:18-24



                                                                                             Had

Dr. Wu done this comparison, he would have seen that none of these symptoms were new:

                2014 Application11                              2016 Application12

               “Clinical Depression”                 =         “Affective Disorder”

 “The predominant affective disorder experienced is depression.” United States v. Buscher, Nos.
 2:05-CR-201, 2:06-CV-1339 JCM RJJ, 2007 WL 2264536, at *2 (D. Nev. Aug. 3, 2007)

     “Difficulties with . . . Decision Making and    =   “Attention and Decision Problems”
                    Concentration”

       “Memory Loss,” “Difficulties with . . .       =   “Significant Memory & Attention
                Concentration”                                      Problems”


Cloud’s Social Security Administration decision, which was submitted with his 2014 application,

also listed “affective disorder” as one of his “severe impairments.” See AR-106. And when asked

about Cloud’s depression, Dr. Wu confirmed




11
   AR-096-97.
12
   AR-290-91.

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                              There is no genuine dispute of material fact as to whether Cloud’s

2016 reclassification request listed new conditions. It did not do so.

       Second, without identifying specific conditions that he claims are new, Cloud purports to

provide the Court with a list of the impairments and conditions listed on the 2014 and 2016

applications, respectively:




Cloud Br. at 60. The lists are not apples-to-apples comparisons. For the 2016 application, Cloud

lists the symptoms reported in both Parts 1 and 3 of the application, while for the 2014

application, he lists only the symptoms reported in Part 3 of the application. Compare Cloud Br.

at 60 & nn. 324-25 (citing only one page of the 2014 application, AR-97, but two pages of the

2016 application, AR-290-91); with AR-96-97; AR-290-91.

       Undoubtedly aware that none of the impairments or conditions listed on the 2016

application were new as compared to the 2014 application, Cloud now claims that is irrelevant

because “the Committee [did not] award[] Cloud Inactive A [in 2014] based upon the same

impairments/conditions alleged in his initial 2014 Application” as the “2014 Decision Letter . . .


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was based solely on the Committee Reliance on SSA Award . . . .” Cloud Br. at 53-54, 60. But

the Social Security Award was itself based on the same types of impairments presented in his 2014

application, including “migraine headaches,” “affective disorder,” “pain, burning and numbness

from the base of his neck to his fingertips,” “markedly limited in the ability to maintain attention

and concentration for extended periods,” “vertigo,” memory loss,” “impaired verbal fluency,”

“difficulty making decisions,” and “depression.” AR-106-08.

       Finally, Cloud misstates the record in claiming that “Mr. Smith confirmed Cloud’s own

reports are ample evidence to address ‘changed circumstances’.” Cloud Br. at 60 & n.322 (citing

App. 717 (222:3-9)). Here is the actual testimony:

       Q. As it pertains to information and evidence that’s submitted by a player himself,
       does the Board review that information as evidence? . . . So like their own
       statement. A. Yes. Yes. Their own statements, but like all things, there has to be
       weight assigned, and the greater weight is assigned to actual medical professional
       evidence . . . .

App. 717 at 223:3-12.

               2.       Even if New Impairments or Conditions Had Arisen Between 2014 and
                        2016, They Would be Irrelevant Because They Could Not Demonstrate
                        Cloud’s Eligibility for Active Football Benefits.

       Even if new impairments or conditions had arisen between 2014 and 2016, it would be

irrelevant because the question was whether “changed circumstances” demonstrated Cloud’s

“eligibility under a different category of T&P benefits.” PD § 5.7(b) (AR-37). While Cloud has

attempted to claim a new disability onset date as of the end of the 2005 NFL season, and rely on

mistaken deposition testimony that the “shortly after” deadline extended through early 2007, see

infra at 16-20, to be “eligibl[e] under a different category of T&P benefits,” i.e., “Active Football,”

he still would have to show that his new disabilities arose while he was an Active Player. PD §

5.3(a) (AR-32). Any impairments or conditions arising in 2014 or thereafter clearly could not



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meet this requirement, as Cloud ceased being an Active Player in 2006. See PD § 1.1 (AR-007)

(defining “Active Player”). If they could, it would then mean that they rendered Cloud totally and

permanently disabled at least seven years after the relevant, “shortly after” time period. Thus, no

matter what deposition testimony Cloud points to about his condition between 2014 and 2016, it

is irrelevant. See Cloud Br. at 60 (“The evidence in the AR shows that . . . Jennifer and Cloud

testified to his evolving Cognitive Impairments . . . between 2014 and 2016.”). Additionally,

Cloud ignores that the Court admitted the deposition transcripts as “relat[ing] to whether the

administrative record submitted is complete and/or whether the plan administrator complied with

ERISA’s procedural regulations.” Dkt. 141 at 6. New testimony on Cloud’s medical conditions

concerns neither, was not before the Board, and cannot be considered.

               3.     Even if Defendant Should Have Sent Cloud to a Another Neutral – Which
                      There Was No Reason to Do – That Would Not Make Him Eligible for
                      Benefits under the Plan.

       Cloud does not and cannot assert that any failure to “refer him for examination by a neutral

physician” or his allegation that Defendant “bur[ied] a neutral neurologist’s recommendation that

Cloud be referred for diagnostic brain studies,” see Cloud Br. at 60-61, could be a basis for

awarding him benefits to which he is not entitled under the terms of the Plan. Rather, Cloud argues

that this affects the standard of review. See Cloud Br. at 47-51. As discussed below, there was no

reason or requirement to refer him to a Neutral Physician under the circumstances, and the DiDio

Report was not buried. See infra at 24-25. It is also worth noting that Dr. DiDio evaluated Cloud

for the Plan’s lesser LOD benefit, and he reported that Cloud’s symptomology in 2010 did not

qualify him for even that benefit. Furthermore, what Cloud characterizes as the “referral for

diagnostic studies in the DiDio Report,” Cloud Br. at 19, was to confirm DiDio’s opinion that he

either “believ[ed]” or thought it was “very possibl[e]” that many of Cloud’s symptoms were “a



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result of his past concussions,” and “prior traumatic head injuries.” See AR-376. But, as Cloud

acknowledges, Defendant has not disputed that his disability “arose out of playing in the NFL.”

Cloud Br. at 57.

       C.       Cloud Did Not Meet the “Shortly After” Requirement for Active Football
                Benefits.

       As set forth in Defendant’s Motion for Summary Judgment, Cloud failed to show that he

was totally and permanently disabled “shortly after” – within 6 months (but in no case more than

12 months) – his disability first arose. See Dkt. 162 at 41-47; PD §§ 5.3(a), (e) (AR-32), § 5.7(b)

(AR-37). Cloud told the Board in his 2016 request for reclassification that his disability arose on

“October 31, 2004” following a “[h]elmet to helmet collision with the NY Giants in a game against

the Minn[esota] Vikings,” which caused him to be totally and permanently disabled “immediatly

[sic] after October 31, 2004.” AR-291. The evidence, however, that Cloud did not become totally

and permanently disabled within a year of October 31, 2004 was overwhelming – including, most

obviously, the fact that he continued to play professional football for more than a year. See Dkt.

162 at 43-46.

       Unable to dispute that he failed to meet the “shortly after” requirement based on the facts

set forth in his 2016 reclassification request, Cloud belatedly attempts to change the facts. But, as

discussed below, he cannot now rely on a theory which was not presented to the Board, and, even

if he could present a new theory, he does not have the facts to support it.

                1.     Cloud’s New Claim That His Disability First Arose at the End of the 2005
                       NFL Season Was Not Presented to, and Contradicts, What He Told the
                       Board in His 2016 Reclassification Request, and Cannot Be Considered.

       Having failed to meet the “shortly after” requirement, Cloud attempted to change the facts

late in this litigation. Since he cannot qualify for Active Football benefits if his disability first

arose on October 31, 2004, which is not only what he told the Board, but what he alleged in his

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Complaint and several rounds of his Initial Disclosures, Cloud filed an Amended Complaint

claiming that his disability arose “at the conclusion of the 2005 NFL football season.” Compare

Compl. (Dkt. 1), ¶ 24 (“Plaintiff was totally and permanently disabled ‘shortly after’ a concussion

that occurred on October 31, 2004”) with Am. Compl. (Dkt. 68), ¶ 42 (“Plaintiff was totally and

permanently disabled ‘shortly after’ the disabilities arose at the conclusion of the 2005 NFL

football season”).   Because this argument was not raised before the Board, and indeed is

contradicted by what Cloud told the Board, it has been waived. See Gomez v. Ericsson, Inc., 828

F.3d 367, 374 (5th Cir. 2016) (“[Plaintiff] tries a new argument not raised before the

administrator—that the value of any unreturned property should offset his severance pay. But we

cannot consider an argument that a plan did not first have the opportunity to assess.”).

               2.      Cloud Cannot Prove His New Claims About the Timing of His Disability.

       Even if Cloud’s new theory were not waived, he could not demonstrate that he was disabled

within the requisite “shortly after” period. The only “evidence” that Cloud relies on in arguing

that he was disabled within the “shortly after” period is an opinion by his expert witness, Dr. Wu:

       Dr. Wu opined, “[b]ased on the circumstances of Mr. Cloud’s condition as of March
       30, 2006 and the ongoing nature of the injuries Mr. Cloud sustained in late 2004
       and through the 2005 NFL playing season that concluded in January 2006, Mr.
       Cloud meets the terms of the definition “shortly after.” Based on my experience,
       training, analysis of Mr. Cloud’s brain, and reasonable medical probability and
       certainty, Mr. Cloud was totally and permanently disabled as those terms are used
       in the medical community as of March 30, 2006, which is well prior to the date of
       January 2007 as indicated by Mr. Smith.”

Cloud Br. at 59 (alteration in original) (quoting App. 5745). But the Court has ruled that “Dr.

Wu’s testimony and the aforementioned exhibits will not be considered for the purpose of

resolving ‘disputed material facts’ or the ‘merits of the claim itself.’” Dkt. 151 at 3 (quoting Vega,

188 F.3d at 299-300). Since Cloud has failed to cite any admissible evidence that shows he meets

the “shortly after” requirement, summary judgment in favor of Defendant is warranted. See

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Gerritsen Beach Invs., Ltd. v. Jemal, No. 3:08-CV-1192-N, 2010 WL 11618302, at *4 (N.D. Tex.

Apr. 9, 2010) (“Because the only evidence that [Cloud] offer[s] is inadmissible for summary

judgment purposes, the Court finds that they fail to demonstrate a genuine issue of material fact

on this point.”); Jackson v. Royal Caribbean Cruises, Ltd., 389 F. Supp. 3d 431, 445 n.8 (N.D.

Tex. 2019) (Scholer, J.) (“Rule 56 imposes no obligation to sift through the record in search of

evidence to support a party’s opposition to summary judgment. Parties must identify specific

evidence in the record supporting challenged claims and articulate the precise manner in which

that evidence supports those claims.”) (cleaned up).

       Moreover, as discussed below, Dr. Wu admitted




                                                                .

       First, Dr. Wu admitted




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        Second, Dr. Wu admitted




                                                    Moreover, at the Social Security hearing, Cloud

acknowledged the onset date was December 31, 2008, (AR-104) (“The claimant appeared and

testified at a hearing held on May 15, 2014 . . . The claimant has amended the alleged onset date

of disability to December 31, 2008”) (emphasis added), which the Social Security Administration

relied on in finding that he “has been disabled . . . since December 31, 2008,” (AR-110), and which

he did not appeal and submitted to the Plan as proof of his disability, highlighting, in bold, the

“onset date of December 31, 2008,” (AR-99) (emphasis in original), in his cover letter to the Plan.

Cloud is estopped from now taking a position in federal court, which is inconsistent with what he

told the Social Security Administration. See Harris v. Marathon Oil Co., 948 F. Supp. 27, 29

(W.D. Tex. 1996) (“It is the opinion of this Court that Mr. Harris was estopped from presenting

evidence at trial which contradicted his earlier claims [before the Social Security Administration]

of total disability.”), aff’d, 108 F.3d 332 (5th Cir. 1997).13


13
   Any suggestion that Cloud “did not . . . speak” at the hearing, see Cloud Br. at 16-17, is belied
by the Social Security decision, which states that he “appeared and testified” and “amended the
alleged onset date of disability to December 31, 2008.” AR-104.

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       Third, Dr. Wu’s assumption that the relevant deadline to qualify for “shortly after” in this

case was January 2007 is based on later corrected deposition testimony that the event which

triggers the “shortly after” time period is not when the disability first arises, as the Plan provides,

but when a player “stopped playing football” no matter how much later in time that retirement may

take place. See App. 5745




                                                                                      That deposition

testimony was corrected by errata on December 7, 2021. App. 775 (errata sheet from Board

member Robert Smith explaining that the time period runs from “when Mr. Cloud’s disability first

arose,” and the change was necessary to “correct deponent’s misrecollection and conform answer

to the terms of the Plan”). Although the terms of the Plan are clear and the errata change is

objectively correct, after the Court denied Cloud’s motion to strike the change, Dkt. 112, Cloud’s

counsel appears not to have given the errata to Dr. Wu. See Dkt 170 at 20 n.20 (collecting

testimony of Dr. Wu).

       D.      Cloud’s New Argument That the “Shortly After” Requirement Does Not
               Apply Is Baseless, Contradicted by Federal Court Precedent, and Doubly
               Waived.

       In his summary judgment brief, Cloud argues for the first time that a “Special Rule[]” under

the Plan for “Psychological/Psychiatric Disorders” expands a player’s eligibility for benefits by

allowing him to qualify based on a “head injury . . . sustained by a Player arising out of League

football activities,” PD § 5.4(b) (AR-33), without otherwise meeting the requirements for “Active

Football” benefits under Section 5.3(a), including the “shortly after” requirement. See Cloud Br.

at 9-10, 58. Cloud cites no support for this theory, which has been rejected by the Board in another



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matter, and its interpretation affirmed in a published federal court opinion. See Supp. App. 28,

Boyd v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, Case No. 3:01-cv-2072-J, Dkt. 61 at 3 (S.D.

Cal. July 24, 2003) (“The Board examined the intent of the collective bargaining parties and

determined that the psychological/psychiatric provisions limit, and do not expand, the situations

in which Football Degenerative T&P may be awarded. . . . [T]he Court finds that the Board did

not abuse its discretion in interpreting the psychological/psychiatric provision.”), aff’d 410 F.3d

1173, 1178 (9th Cir. 2005).

       Indeed, far from expanding the eligibility for “Active Football” benefits, the Special Rule

expressly limits awards for psychological/psychiatric disorders to the “Active Nonfootball,”

“Inactive A,” and “Inactive B” categories of benefits. See PD § 5.4(b) (AR-33) (“A payment for

total and permanent disability as a result of psychological/psychiatric disorder may only be made,

and will only be awarded under the provisions of Section 5.3(b), Section 5.3(c) or Section 5.4(d) .

. . .”). The Special Rule then goes on to provide an exception to that rule which states that “Active

Football” benefits may, in certain circumstances, still “be awarded under the provisions of 5.3(a)

. . . .” Id. It is only by selectively omitting any reference to the “be awarded under the provisions

of 5.3(a)” language from his brief that Cloud is able advance the baseless argument that he does

not need to “meet[] the express terms of Section 5.3(a).” See Cloud Br. at 9-10.

       Not only is Cloud’s new theory without merit because it misquotes the Plan, but it was

never presented to the Board, or mentioned in his Complaint or First Amended Complaint or at

any other time prior to his dispositive motion. Indeed, his argument with respect to the “shortly

after” requirement in each of those filings was that he satisfied the requirement, not that he was

eligible under an exception to the requirement. See AR-490 (“Mr. Cloud satisfies all of the criteria

for an award of Active Football benefits. Plan section 5.3 provides for Active Football T&P



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benefits if . . . the Player [becomes] totally and permanently disabled ‘shortly after’ the

disability(ies) first arises.”); Compl. (Dkt. 1), ¶ 21 (“Plaintiff satisfies each element necessary to

obtain Active Football T&P Benefits. Specifically, . . . Plaintiff was totally and permanently

disabled ‘shortly after’ the disability occurred.”); Am. Compl. (Dkt. 68), ¶ 35 (same).

Accordingly, any argument about the application of the Special Rule has been doubly waived. See

Gomez, 828 F.3d at 374 (“[Plaintiff] tries a new argument not raised before the administrator—

that the value of any unreturned property should offset his severance pay. But we cannot consider

an argument that a plan did not first have the opportunity to assess.”); Sims v. City of Madisonville,

894 F.3d 632, 643 (5th Cir. 2018) (affirming district court decision holding that where plaintiff

“failed to raise . . . theories in his first amended complaint,” he “could not do so for the first time

on summary judgment”).

II.    Cloud’s Arguments for Applying De Novo Review Lack Merit.

       In the “Standard of Review” section of his brief, Cloud notes “three grounds” which he

claims justify applying a “de novo standard of review.” Cloud Br. at 40-41. None are persuasive.

       His “Third” ground is easy to follow and just as easily shown to be inapplicable to this

case: the Texas statute banning discretionary clauses in insurance policies does not apply to the

Plan at all (and would, in any event, be preempted by ERISA) under clear precedent that Cloud

ignores. See infra at 23-24.

        His “First” ground is not a complete sentence, contains no citations and is unclear on what

other portions of his brief, if any, are supposed to support it. See Cloud Br. at 40 (“First, exceed

the boundaries of their stated discretion under the Plan.”). The words “boundaries” and “exceed”

are not used a single time anywhere else in his 63-page brief, nor is the phrase “stated discretion.”




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       His “Second” ground is a collection of inaccurate allegations – including that there have

been “multiple erroneous interpretations of Plan provisions and obligations under ERISA,” and “a

willingness to increase rounds of costly litigation as if they were part of the Plan’s claims process,”

Cloud Br. at 40 – some of which loosely correspond to the four “Key Facts” alleged in the portion

of his “Arguments and Authorities” section that addresses de novo review. See Cloud Br. at §§

II(C) (“Key Fact #2 – Defendant Uses No Consistent Interpretation of ‘Changed Circumstances’”),

II(E) (“Key Fact # 4 – Defendant (and Groom) Treat Litigation as Part of the Claims Process”).

Each of Cloud’s four “Key Facts” are addressed below in order. See infra at 24-40.

       After addressing Cloud’s Texas insurance law argument, and his four “Key Facts,”

Defendant addresses some of the other scattershot misrepresentations and innuendo contained in

disparate portions of Cloud’s briefing. See infra at 40-47.

       A.      This is an ERISA Disability Case, Not an Insurance Case. Accordingly, the
               Texas Insurance Code Does Not Apply.

       Cloud argues that de novo review is appropriate because the Texas Insurance Code

prohibits “discretionary clauses.” Cloud Br. at 41 & n.259 (citing Tex. Ins. Code. §§ 1701.062(a),

1701.002). But that prohibition is limited to “form insurance policy contracts developed by

insurance companies, approved by [the Texas Department of Insurance], and issued by insurers.”

Allen v. Sherman Operating Co., LLC, No. 4:20-CV-290-SDJ, 2021 WL 5710566, at *3 (E.D.

Tex. Dec. 2, 2021). It is inapplicable to an ERISA plan that, like the Plan, does not involve

insurance. See Allen, 2021 WL 5710566, at *3 (“On its face, the Plan, which establishes an

employee injury benefit plan designed to comply with ERISA and under which benefits are paid

by Sherman Operating itself, is not the type of document contemplated by these provisions of the

Texas Insurance Code. Neither party alleges that the Plan was a ‘form’ insurance policy submitted

to or approved by TDI, and the Court cannot conceive that it was. Therefore, Section 1701.062(a)

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does not apply to the Plan, and the Court finds that the discretionary clause is lawful and valid.”);

Hernandez v. Life Ins. Co. of N. Am., No. SA-19-CV-00022-FB, 2020 WL 1557802, at *5 (W.D.

Tex. Apr. 1, 2020) (“The chapter in which Section 1701.062 is contained only applies to insurers,

such as life, accident, health, casualty, or mutual life insurance companies, not employers funding

welfare benefit plans.”).14 In any event,“[t]o the extent that section 1701.062 can be read to apply

here, to a self-funded plan that does not involve any policy of insurance, it would be expressly

preempted” by ERISA. See id. at *6.15

       B.      “Key Fact #1” – Defendant Never “Buried” the DiDio Report and There Was
               No Reason or Requirement to Refer Cloud to Another Neutral Physician.

       Cloud’s first “Key Fact” which he cites as evidence of “Defendant’s Egregious and

Systemic Violations of the Plan and ERISA Statute Requir[ing] De Novo Review” is that “the

moment Defendant received the DiDio Report . . . it never again acknowledged any of it and never

again sent Cloud to see a neutral neurologist.” Cloud Br. at 47. See also id. at 51 (accusing

Defendant of having “buried the DiDio Report . . . during approximately 6 years of denying Cloud

the T&P Benefits (Active Football) to which he is entitled”). But, as discussed below, Defendant

did not “bur[y]” the DiDio Report and there was no reason or requirement to refer Cloud to another

Neutral Physician.




14
   Report and recommendation adopted, No. SA-19-CV-00022-FB, 2020 WL 3579821 (W.D. Tex.
Apr. 21, 2020).
15
   The only case cited by Cloud is not to the contrary. That case involved a fully-insured plan,
rather than, as here, a self-funded plan, and no preemption argument was raised. See Woods v.
Riverbend Country Club, Inc., 320 F. Supp. 3d 901, 909 (S.D. Tex. 2018) (“no party in this case
mentions any [preemption] argument”); Hernandez, 2020 WL 1557802, at *5 (explaining that
Woods involved a “fully insured plan” rather than a “self-funded plan[] like the one underlying
this suit”).

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               1.      Defendant Did Not Bury The DiDio Report.

       It is not true that Defendant “buried” and “never again acknowledged” the DiDio Report

between 2010 when it was issued and 2016 when the Board denied Cloud’s reclassification:

       •   On April 15, 2010 , Cloud wrote Defendant “requesting a copy of my recent
           Medical Evaluation . . . from doctors: . . . Adam Didio, M.D. . . . ,” App. 3791,
           and he was sent “a copy of the reports from Dr.[] . . . DiDio” on May 28, 2010.
           App. 2971.

       •   Cloud received the DiDio report, as he submitted it in connection with his
           March 7, 2012 application to the Social Security Administration. The
           Administrative Law Judge discussed the DiDio Report in his decision
           concluding that Cloud was totally and permanently disabled since December
           31, 2008. See AR-108, 110.

       •   The DiDio Report is in the Administrative Record, not once, but twice, because
           it was considered in connection with both his 2014 application and 2016 request
           for reclassification. See AR-174-182 (marked “E-Ballot 7/17/2014”); AR-372-
           380 (marked “E-Ballot 02/22/2016”).

       •   The DiDio Report is listed as one of the medical records submitted by Cloud in
           the one-page summary of Cloud’s appeal that was provided to the Board, which
           states that “THIS IS A SUMMARY ONLY” and “[t]he Player’s complete file,
           along with the entire administrative record compiled in conjunction with this
           claim/appeal” – which included the DiDio Report – “have been made available
           and should be reviewed prior to making a final determination on the Player’s
           claim for benefits.” AR-484.

               2.      There Was No Reason or Requirement to Send Cloud to Another Neutral
                       Physician.

       There was no reason to send Cloud to another neurologist in connection with his 2014

application or his 2016 request for reclassification. The provision in the ERISA Claims Procedure

that Cloud cites requires “consult[ation] with a health care professional” before a plan fiduciary

denies a claim based on “a medical judgment[.]” 29 C.F.R. § 2560.503-1(h)(3)(iii). But it is well

established that where a plan administrator “did not dispute the medical judgment of [the] treating

physician” and the “denial of benefits was based solely on its determination that [the claimant’s

condition] did not fall within the benefit plan’s definition of ‘disability’” that the “determination

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was contractual, not medical.” Stanford v. Cont’l Cas. Co., 514 F.3d 354, 360 (4th Cir. 2008).16

See also Dorrough v. Dean Foods Co. Grp. Disability Plan, No. C 03-4826 MJJ, 2005 WL

2122301, at *5 (N.D. Cal. Aug. 30, 2005) (holding that “review by a medical professional is not

necessary” where the plan administrator “never disputed Plaintiff’s physical limitations” and

instead based its “determination [on] the physical requirements of Plaintiff’s job”); Bess v. Mut. of

Omaha Ins. Co., No. CIV.A. 2:11-00143, 2011 WL 5858815, at *10 (S.D.W. Va. Nov. 22, 2011)

(“Mutual did not question the physicians’ diagnoses of abdominal pain or their attempts at

identifying its cause. By only reviewing the medical determinations rather than making new or

different medical findings, Mutual did not make a judgment as to plaintiff’s medical condition.”).

Cloud does not cite any cases addressing this issue – and instead cites a single case regarding

whether Neutral Physicians were qualified, which is not at issue here. See Cloud Br. at 48 n.277

(citing Davis v. Aetna Life Ins. Co., 699 F. App’x 287, 295 (5th Cir. 2017)).17

       In this case, there was no dispute over Cloud’s medical condition, as determined not only

by his doctors, but by the Social Security Administration’s decision, which the Plan was required

to accept. See PD § 5.2(b) (AR-25). Accord Cloud Br. at 47 (“It is undisputed that Cloud suffered

NFL Brain Injuries resulting in . . . T&P Disabilities in the form of the described Cognitive


16
   Abrogated in part on other grounds by Champion v. Black & Decker (U.S.) Inc., 550 F.3d 353,
359 (4th Cir. 2008).
17
   Cloud also includes, perhaps mistakenly, the following statement: “As set forth above regarding
use of delegation powers and advisors, the law (and per Groom’s own advice) requires that
fiduciaries make an effort to gain some knowledge about the topics at hand in order to enable them
to monitor the advice from third-parties like medical physicians and lawyers.” Cloud Br. at 48.
No citation is provided and there does not appear to be any such “above” portion of the brief to
which Cloud could be referring. Cf. infra at 37 (addressing the one case Cloud cites later in his
brief addressing the issue of a delegation of authority); Cloud Br. at 55 (“Key Fact # 3 –
Defendant’s Failure to Supervise or Monitor Any Delegees”). To the extent Cloud is attempting
to refer to a white paper by Groom that he cited in earlier briefing and which is not in the
Administrative Record, there is no basis to consider it and, in any event, it says nothing about the
ERISA Claims Procedure at issue here.

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Impairments.”). Nothing in ERISA, the Plan, any reported decision, or basic commonsense

required Defendant to send Cloud to a Neutral Physician to “assess [whether] Cloud’s [alleged]

‘changed circumstances’ related to his Cognitive Impairments,” Cloud Br. at 47-48, when

Defendant did not question Cloud’s claim that his symptoms related to his football injuries and did

not deny his claim on that basis.

       Nor was a medical degree necessary to conclude that Cloud did not present clear and

convincing evidence of changed circumstances demonstrating that he was totally and permanently

disabled within 6 months (but in no case more than 12 months) after his disability first arose in

2004. See PD §§ 5.3(a), (e) (AR-32), § 5.7(b) (AR-37). As discussed above, allegedly new

symptoms arising between 2014 and 2016 are, by definition, irrelevant to the question of whether

Cloud presented “changed circumstances” which show that he satisfied the “shortly after”

requirement to be eligible for Active Football benefits. See supra at 14. It was also obvious on

the face of Cloud’s 2014 application and 2016 request for reclassification, respectively, that none

of the 2016 symptoms were actually new. See supra at 11.

       While Cloud observes that the Board has referred other players to Neutral Physicians, see

Cloud Br. at 49 & n.283, Cloud does not allege any inconsistent treatment in this regard – nor

could he, as none of the players he identifies were similarly situated. Indeed, none of the examples

Cloud cites even involved a request for reclassification to Active Football benefits, which is at

issue here. See App. 5444 (“appeal for reclassification of his inactive T&P benefits to the Football

Degenerative category”); Giles v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 925 F. Supp. 2d

700, 711 (D. Md. 2012) (“plaintiff appealed to the Retirement Board the classification of his

disability as Inactive, rather than Football Degenerative”); Boyd v. Bert Bell/Pete Rozelle NFL

Players Ret. Plan, 410 F.3d 1173, 1174 (9th Cir. 2005) (“appeals the denial of football



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degenerative disability benefits”);18 Johnson v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 468

F.3d 1082, 1084-85 (8th Cir. 2006) (referring player to a Neutral Physician in connection with a

“second application for benefits,” not a request for reclassification, after player obtained a new

“medical opinion” that he was disabled).19

       Cloud’s claim that the Committee members testified they “automatically refer claimants to

see neutral physicians,” Cloud Br. 20 & n. 126, is not correct. The actual testimony Cloud purports

to be citing is that “if a player met the requirements of the Plan to qualify for total and permanent

disability, he would automatically go to see one of the neutrals,” but that “[t]he only time that I –

in my role on the committee would say that he needed to go see a physician if there’s a question.”

App. 203 (162:22-163:9) (emphasis added).20 So too, the Plan Document makes such a referral

discretionary, see PD § 5.2(c) (“such Player may be first required to submit to an examination by

a neutral physician” if “in the opinion of the Retirement Board or the . . . . Committee, [it is]

necessary to make an adequate determination regarding his physical or mental condition”), and, as

discussed above, it was not necessary here. See supra at 25-28.

       Finally, Cloud’s expert admitted that



                        See Dkt. 170 at 14-15 (collecting testimony from Dr. Wu on this subject).


18
   “Football Degenerative” benefits, which “were so named because they were intended for Players
who gradually became disabled, in ‘degenerative’ fashion, after leaving professional football,” are
now referred to under the Plan as “Inactive A” benefits – which is what Cloud is currently
receiving. See Dkt. 162 at 10 n.12.
19
   Unlike requests for reclassification, which require a showing of “changed circumstances,” PD §
5.7(b) (AR-37), “a subsequent application for benefits” by a “Player whose claim for benefits . . .
has been denied” and who “is not receiving monthly retirement benefits,” does not require a
showing of changed circumstances. See PD §§ 5.2(a), (e) (AR-30-32).
20
   Cloud, perhaps mistakenly, purported to cite pages 162-63 of the deposition of Ms. Smith, which
does not address this topic, instead of pages 162-63 of the deposition of Mr. Reynolds, which does.
See Cloud Br. at 20 n. 126.

                                                 28
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This not only affirms that it would have been pointless to refer Cloud to a Neutral Physician, but

that Cloud cannot demonstrate any prejudice from the fact that there was no such referral.

       C.      “Key Fact #2” – Cloud Cannot Identify a Single Instance of Inconsistent
               Applications of the “Changed Circumstances” Requirement and Instead
               Complains of Minor Differences in Phrasing.

       Cloud’s second “Key Fact,” is that “Defendant Uses No Consistent Interpretation of

‘Changed Circumstances’.” Cloud Br. at 51. Yet, notwithstanding the extensive discovery Cloud

has been afforded in this case, Cloud did not identify a single instance in which a player similarly

situated to him was found to have met the “changed circumstances” requirement. His only attempt

to do so fails. Cloud points out that the Board concluded the “changed circumstances” requirement

was satisfied where a player was “initially awarded T&P benefits due to Crohn’s Disease, and you

are now totally and permanently disabled due to your orthopedic impairments.” See Cloud Br. at

54. Cloud claims this case is “similar” because he was initially awarded T&P benefits “based

solely on the Committee reliance on SSA Award,” not an “evaluation of . . . his . . . Cognitive

Impairments.” Id. at 53-54. This argument does not withstand scrutiny: the Social Security

Administration found Cloud disabled based on the same cognitive impairments he presented in his

request for reclassification. See also supra at 13-14.21

       Cloud does not dispute that courts have repeatedly upheld the Board’s interpretation of the

“changed circumstances” requirement and treated that interpretation as consistent, notwithstanding


21
  Although the 2016 Appeals Decision Letter plainly acknowledges that Cloud had already been
“found . . . to be totally and permanently disabled by virtue of your Social Security Administration
(‘SSA’) disability award,” AR-518, Cloud complains that the Letter is “false” insofar as it says
“the medical evidence you submitted does not show that you are totally and permanently disabled.”
See Cloud Br. at 36 (citing AR-519). Both statements in the letter are true: (i) Cloud was found to
be totally and permanently disabled under the Plan by virtue his Social Security Award; and (ii)
Cloud submitted no new evidence in connection with his 2016 request for reclassification which
showed that he was totally and permanently disabled or (as the rest of the sentence in the Letter
says) that such disability fell within the “shortly after” period.

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the same minor differences in phrasing Cloud now notes. Compare Boyd v. Bert Bell/ Pete Rozelle

NFL Player Ret. Plan, 796 F. Supp. 2d 682, 692 (D. Md. 2011) (upholding the Board’s

interpretation of “‘changed circumstances’ to require, in the context of the Plan, a change in

physical condition, not merely the availability of new evidence regarding causation”), and Hudson

v. Nat’l Football League Mgmt. Council, No. 18-CV-04483-GHW, 2019 WL 5722220, at *4, *22

(S.D.N.Y. Sept. 5, 2019) (upholding the Board’s interpretation of “the ‘changed circumstances’

requirement to mean a change in Player’s physical condition—such as a new or different

impairment—that warrants a different category of benefits,” and concluding that the

interpretations approved of by the Boyd and Bryant courts were “persuasive here”)22 with Cloud

Br. at 52 (complaining that the inclusion of “such as a new or different disability” language

originally at issue in Bryant was a “mutat[ion]” and “manipulat[ion]” of “the definition of Changed

Circumstances” by “Groom” in order “to enable denial of the claim”).23 See also infra at 38-40

(addressing Cloud’s recycled attacks on Groom).24

       Nor is there a basis for Cloud’s claim that despite “preparing . . . contemporaneous

Reclassification denial letters” that defined changed circumstances to “mean ‘a new or different

impairment from the one that originally qualified you for T&P benefits,” “Groom prepar[ed] . .

. an entirely new Groom Reinterpretation of Changed Circumstances in order to deny Cloud in the



22
   Report and recommendation adopted as modified, No. 1:18-CV-4483-GHW, 2019 WL 4784680
(S.D.N.Y. Sept. 30, 2019).
23
   See Supp. App. 7, Bryant v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, Civ. No. 1:12-cv-936-
MHC, 2015 WL 13908103, at *3 (N.D. Ga. March 23, 2015).
24
   Cloud complains not only that it is evidence of a conspiracy when minor differences in phrasing
are used, but that so too it is evidence of a conspiracy where there are no differences in phrasing
used. See Cloud Br. at 45 (complaining that “Defendant fabricated a 2014 Decision Letter citing
denial of Active Football benefits with the same Boilerplate Denial of Active Football that, as part
of its Systemic Violations of the Plan and ERISA in Denial Letters, it uses for hundreds of other
players in denial letters . . . .”).

                                                30
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2016 Appeal Decision Letter.” Cloud Br. at 54. In reality, Cloud’s 2016 Appeal Decision Letter

used the exact same definition of changed circumstances: “The Retirement Board interprets

Section 5.7(b)’s ‘changed circumstances’ requirement to mean a new or different impairment from

the one that qualified you for T&P benefits.” AR-519 (emphasis added). The difference between

the decision letters was not in the definition of “changed circumstances,” but in the type of benefits

the player was seeking:

                 Cloud’s Letter                               Contemporaneous Letter
           (AR-519; emphasis added)                   (Dkt 165-8 at App. 5232; emphasis added)
 The Retirement Board interprets Section 5.         The Retirement Board interprets Section
 7(b)’s “changed circumstances” requirement         5.7(b)’s       “changed          circumstances”
 to mean a new or different impairment from         requirement to mean a new or different
 the one that originally qualified you for T&P      impairment from the one that originally
 benefits. Because you seek reclassification to     qualified you for T&P benefits. Because you
 Active Football, you would have to clearly and     seek reclassification to Inactive A, you would
 convincingly show that (1) you have a new or       have to clearly and convincingly show that (1)
 different impairment (Section 5.7(b)), (2) that    you have a new or different impairment, (2)
 new or different impairment arose while you        that new or different impairment is totally and
 were an Active Player (Section 5.3(a)), and (3)    permanently disabling (Section 5.2), and (3)
 it caused you to be totally and permanently        your request for reclassification “was received
 disabled “shortly after” it first [sic, arose]     within fifteen (15) years after the end of [your]
 (Section 5.3(a)).                                  last Credited Season.” (Section 5.3(c).)

As explained above, Cloud came nowhere close to meeting the “changed circumstances”

requirement because he presented no new evidence of changed circumstances at all, listed

substantially the same symptoms as he did on his prior application, and cannot explain (much less

prove) how symptoms he claims to have developed more than a decade after his October 31, 2004

concussion could show he meets the “shortly after” requirement for Active Football benefits.

       Cloud’s speculation that players who were issued denial letters before 2010 were “left with

no idea what Defendant is talking about in using the terms no Changed Circumstances,” Cloud Br.

at 53 (emphasis omitted), see also id. at 51 (“For over a decade (1997-2010), Groom caused

defendant to issue denial letters . . . and never defined Changed Circumstances in any of those

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letters”), is both baseless and legally irrelevant – as not only did the letter Cloud receive define it,

but it has been publically available in numerous court decisions. See Hudson, 2019 WL 5722220,

at *23-24 (holding that because “[i]n 2011, the federal district court in Boyd . . . issued a published

decision that upheld the Retirement Board’s interpretation of the ‘changed circumstances’

requirement,” the player “had constructive notice” of the definition and that “[t]his presumption is

particularly strong” since the player “was represented by counsel”). Moreover, as Hudson itself

shows, a player who inquired about the definition of “changed circumstances” was directed to

these decisions – notwithstanding Cloud’s gratuitous misrepresentation of the facts of Hudson and

misleading use of an ellipsis:

          Cloud’s Brief at 53 & n.296                      Hudson, 2019 WL 5722220, at *5
                (emphasis added)                                    (emphasis added)
 “[I]f [players] want to find out [the definition    “Junk responded in writing noting that two
 of Changed Circumstances] then it plays             prior court decisions had upheld the
 directly into Litigation Phase of Defendant’s       Retirement Board's definition of “changed
 Claims Handling Process (defined below) – the       circumstances” and further noted that he
 players have to sue. Even then, in one case,        would not provide a definition of the term
 Groom (i.e., Mr. Junk) refused to explain a         “impairment” because doing so could be
 definition of Changed Circumstances for a           construed as an advisory opinion.”
 beneficiary. See [Hudson] at *5 (“Junk
 responded in writing ... and further noted that
 he would not provide a definition of the term
 ‘impairment’ because doing so could be
 construed as an advisory opinion.”).

Cloud’s further claim that “[c]onsisten[t]” with the alleged “refus[al] to explain a definition of

Changed Circumstances for a beneficiary” in Hudson, “here, Groom repeatedly made . . .

objections to deposition questions asking Board and Committee members to explain their

definition of Changed Circumstances,” Cloud Br. at 53, is also misleading. To begin with,

Defendant’s counsel did not make objections to questions asking about the definition of “changed




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circumstances.”25 And while some objections were made to hypothetical questions about what

would satisfy “changed circumstances,” none of Defendant’s objections at any deposition to any

question included instructions not to answer.26

       Finally, Cloud’s suggestion that having “undefined terms,” Cloud Br. at 51, in the Plan was

somehow nefarious and justifies applying de novo review is contradicted by Supreme Court

precedent. See, e.g., Conkright v. Frommert, 559 U.S. 506, 512 (2010) (“If the trust documents

give the trustee ‘power to construe disputed or doubtful terms, the trustee’s interpretation will not

be disturbed if reasonable.’”) (alteration omitted).27




25
   To the contrary, Defendant’s witnesses readily volunteered their understanding of the definition
of changed circumstances, only to have Plaintiff’s counsel object to hearing it in response to his
own question. See App. 420 at 334:22-335:6 (“Q. Does the plan define changed circumstances.
A. Changed circumstances is a new or different condition since he first applied to a total and
permanent disability. MR. DENNIE: Objection. Nonresponsive.”).
26
    See, e.g., App. 225 at 252:19-253:22 (“Q. So I am asking you, based on your interpretation of
the Plan, and the changed circumstances language, with your acknowledgment that concussion
syndrome symptoms can change over time, does that change in circumstances and symptoms
qualify as a changed circumstances as set forth in 5.7(b) in Exhibit 1? MR. MEEHAN: Objection.
Legal conclusion. Incomplete hypothetical. Go ahead. THE WITNESS: I can’t say for certain
that it does, no. . . . Q. You’re on the committee, right? A. We’re speaking in hypotheticals
again. If you could give me a specific situation, I might be able to comment on that.”). By contrast,
Plaintiff’s counsel repeatedly and improperly instructed his witnesses not to answer questions.
See, e.g., App. 6052-54 at 35:14-37:4 (objecting on relevance grounds to questions about the scope
of Dr. Wu’s observations that                            as purportedly aimed at “some sort of self-
serving argument that you’re trying to make that is unassociated with this lawsuit”).
27
   Cloud claims that the Board’s “multiple erroneous interpretations of Plan provisions” show that
it is “sufficiently incompetent to exercise discretion fairly.” Cloud Br. at 40 (citing Conkright, 559
U.S. at 521). See also Cloud Br. at 43. But Cloud does not identify any other Plan provision he
believes the Board has misinterpreted, and even if he could show that a prior interpretation was
incorrect, and he cannot, that would not be enough to warrant de novo review. See Conkright, 559
U.S. at 522 (“The Court of Appeals erred in holding that the District Court could refuse to defer
to the Plan Administrator’s interpretation of the Plan on remand, simply because the Court of
Appeals had found a previous related interpretation by the Administrator to be invalid.”).

                                                  33
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       D.      “Key Fact #3” – The Board Did Not Delegate Fiduciary Decision-Making
               Authority.

       Cloud’s third “Key Fact” is that “Defendant has failed to supervise or monitor the PBO,

Groom, [NFLPA staff member Bethany] Marshall, or [NFL Management Council lawyer Belinda]

Lerner, and in fact has participated in or knowingly allowed their violations of Plan terms and

ERISA requirements” by failing to “train[], supervis[e], or monitor[]” them as “fiduciaries or

delegees.” Cloud Br. at 55; see also id. at 6. To begin with, this claim has already been dismissed.

See Dkt. 68, ¶ 60 (alleging under Count III of the First Amended Complaint that Defendant

breached its fiduciaries because “[t]he Retirement Plan fiduciaries failed to comply with ERISA

training and supervision regulations with respect to delegation of duties to Plan representatives . .

. .”); Dkt. 113 at 2 (granting “Defendant’s Motion to Dismiss Count III of Plaintiff’s First Amended

Complaint”). See also Dkt. 71 at 7 (ruling that “[t]he fiduciary duties identified by Plaintiff” are

not “relevant to . . . whether the Board substantially complied with ERISA procedural regulations”

because “[t]hey are not set forth in 29 C.F.R. § 2560.503-1”).

       Moreover, the entire argument surrounding this supposed “Key Fact #3” spans only four

sentences, contains no factual support,28 and is based on the objectively incorrect premise that the

PBO, Groom, Marshall and/or Lerner decided Cloud’s reclassification request. As the testimony

of the two Board members deposed in this case makes clear, however, the Board members are the

Plan’s fiduciaries; they have ultimate decision-making authority; and they decided Cloud’s request

for reclassification in November 2016.

       Cloud’s counsel elicited the following testimony from Robert Smith:




28
  Cloud does not specify who failed to monitor or supervise whom, or how that alleged failure
adversely affected the decision on his request for reclassification in November 2016.

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       Q.      [By Mr. Dennie] Even with provisions of 8.2(e) and 8.2(f), you would agree
       that the members of the Board still maintain a fiduciary role; correct?

       .…

       A.      It’s -- it’s my understanding that we are fiduciaries, that we are the named
       fiduciaries of the plan. The Retirement Board is named fiduciary of the plan. And
       as part of our responsibilities we do delegate some of these authorities out, but that
       we always are the fiduciaries of the plan.

App. 676 at 58:15-59:1.

       Q.     [By Mr. Dennie] Are you given any direction by anyone on how to decide
       claims?

       A.     Direction on how to decide claims?

       Q.     Correct.

       A.     So are you saying should I approve this or deny it, or the actual process of
       evaluating claims?

       Q.     Well, the question was directed at the ultimate decision, whether you
       approve or deny.

       A.     Oh, no. Nobody ever says you need to do this or do that. Now, our advisors
       make recommendations on cases based on -- based on the research that they’ve
       done on a particular case. They may make a recommendation, but nobody ever
       says that you need to vote a certain way. That’s what the discussions are about.
       And when we’re in those individual caucus sessions, that’s what we’re doing,
       discussing the specifics of cases.

App. 694 at 132:18-133:10.

       …. Now, if there’s a recommendation from one of the advisors that Sam or myself
       or, you know, Jeff at those times or Hoby disagrees with, then we'll have that
       discussion there, and it will be -- the final decision is always ours.…

App. 688 at 108:15-19.

       Cloud elicited similar testimony from Dick Cass:

       Q.     [By Mr. Dennie] …. So, right now, what I’m focused on and following up
       on what you said is, as it pertains to Mr. Cloud, not some other disability deal, do
       you recall any conversations you had with any advisers about his case prior to the
       board meeting in 2016?



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       A.     I do not. Let me just correct that a second. You have to understand the way
       the board operated. There’s a formal board meeting, and then there’s a meeting of
       the NFL board members with advisers before the board meeting. And one of the
       things we would discuss before the board meeting were the cases. So Mr. Cloud’s
       case would have come up in that premeeting before the formal board meeting. …

App. 524 at 37:10-37:24.

       Q.      [By Mr. Dennie] … Are you given any direction from anybody from the
       NFL or Management Council on how to make decisions on the board as it pertains
       specifically to disability benefits?

       A.     No.

App. 559 at 176:19-176:23.

       Q.     [By Mr. Dennie] Do you agree that the board pertaining to reclassification
       appeals is essentially a judge or an arbiter?

       A.      We’re -- we’re an ERISA retirement board. I mean -- so it’s different. I
       don’t know how to compare it. We have -- I mean, I’ve explained during the course
       of the deposition what our duties and responsibilities are. We’re given great
       discretion in interpreting the plan. We’ve got a lot of expertise, not so much within
       any one board member, but we’ve got great -- we’re surrounded by experts who
       have incredible expertise on all of these matters. We’ve got a medical adviser who
       is available to advise us. We’ve got all these physicians writing opinions. So I feel
       that we are well-staffed, and I feel comfortable making decisions in accordance –
       and I know that the lawyers are watching over us and making sure we’re in
       accordance with ERISA and Department of Labor. So I don’t know how to
       compare it to what a judge -- but I do have fiduciary duties, and I think I complied
       with them.

       ….

       Q.      [By Mr. Dennie] As a board member hearing reclassification decisions, you
       are the person, including your colleagues, making the final determination on a
       reclassification case, correct?

       A.     Subject to the right to go to court, yes.

       Q.     Right. From the administrative side.

       A.     Right. Yes.

App. 585 at 278:7-279:17.




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       As reflected in the above testimony, the Board consults advisers. No one denies that

practice. The Plan, however, allows the Board to secure advice from advisers. See PD § 8.2(f)

[AR-049] (allowing the Board “to secure specialized advice or assistance, as it deems necessary

or desirable in connection with the administration of the Plan”). ERISA also contemplates that

fiduciaries will consult advisers. See, e.g., Mertens v. Hewitt Assocs., 508 U.S. 248, 262 (1993)

(“Professional service providers such as actuaries become liable for damages when they cross the

line from advisor to fiduciary.”) (emphasis added); see also DuMond v. Centex Corp., 172 F.3d

618, 623 (8th Cir. 1999) (holding that claimants was provided “with a full and fair review as

required by ERISA and the Plan” where review was conducted, in part, by “internal staff”). But

the undisputed testimony in this case makes it equally clear that the Board retains and exercises

ultimate, decision-making authority. Thus, by consulting advisers, the Board does not ipso facto

transform those advisers into fiduciaries, as the only case cited by Cloud attests. See Cloud Br. at

55 & n.304 (citing In re Enron Corp. Securities, Derivative & ERISA Litig., 284 F.Supp.2d 511,

572 (S.D. Tex. 2003)); and see In re Enron, 284 F.Supp.2d at 572 (noting that “generally a lawyer

or accountant providing services to a plan is . . . not a fiduciary,” and that rule is overcome only

when the adviser “in effect exercise[s] the discretionary authority or control over the management

or administration of an ERISA plan to the point that he has assumed the fiduciary obligations and

has transmuted into a fiduciary as defined under ERISA”) (emphasis added).

       Cloud offers no authority supporting his theory that the advisers offering advice to the

Board are the Plan’s fiduciaries. Nor could he. Three decades ago in Schloegel v. Boswell, 994

F.2d 266 (5th Cir. 1993), the Fifth Circuit rejected a similar attempt to transform an adviser into

an ERISA fiduciary. In Schloegel, the plaintiff alleged that an adviser, who had a longstanding

relationship with the plan and relevant subject-matter expertise, was a fiduciary himself with



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“effective control” over the plan’s assets because the fiduciaries heard and accepted his advice.

994 F.2d at 271. The court noted that “[m]ere influence over the trustee’s … decisions … is not

effective control over plan assets,” id. at 271, and went on to hold as a matter of law that the adviser

was not a fiduciary primarily because the evidence established that the named fiduciaries “made

the final decision” at issue, and thus they did not cede their authority or control to the adviser. Id.

at 271-72 (“Boswell made an investment proposal, not an investment decision.”). This case

presents similar facts, and Cloud’s argument should fail for similar reasons. Advisers who

recommend actions to named fiduciaries are not fiduciaries themselves because they do not have

the requisite decision-making authority or control over plan assets. See also Hatteberg v. Red

Adair Co. Emps.’ Profit Sharing Plan & its Related Tr., 79 F. App’x 709, 716 (5th Cir. 2003)

(“Fulbright lawyers gave advice to the plan committee, and doubtless their advice at time caused

the committee to act in ways it otherwise would not have. But these activities are consistent with

a normal relationship between lawyer and client.… It is unwarranted to infer from the fact that the

Fulbright lawyers shaped the committee’s view of their legal obligations that they became the de

facto controllers of the plan assets, and we see no indication that the attorneys formulated any sort

of scheme to loot the plan of its assets.”).

        E.      “Key Fact #4” – Neither the Board nor Groom Denied Cloud’s Claim in Order
                to Encourage This Litigation.

        In Cloud’s fourth “Key Fact” that he claims requires de novo review, Cloud purports to

incorporate by reference pages 11 to 29 of his Motion to Disqualify the Groom Law Group, see

Cloud Br. at 55-56 & n. 306 (citing Dkt. No. 56 at 11-29), in which he claimed that “Groom has

learned nothing from its conduct in Keys, Dimry I, Dimry II, [and] continue[s] to control the Plan

and the outcomes of its claims process for its own financial interests, and exceeds the scope of

traditional representation to an extent that it is a de facto fiduciary under the Plan.” Dkt. No. 56 at

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28-29. Cloud, however, ignores that he subsequently conceded that “of course, there w[ere] no . .

. findings of wrongdoing” against Groom in Keys or Dimry, see Dkt. 72 at 13, and also ignores

that the Court denied his Motion to Disqualify, and in doing so, rejected his conspiracy theory that

Groom made the decision in this case. See Dkt. 77 at 1, 3 (“addresses[ing] . . . ECF No. 56” and

rejecting Cloud’s argument that Groom was a necessary witness for information on the “handling

of claims for T&P benefits of Cloud” because that information “can be obtained through the

depositions of the members of the Board, as they are the ones who decided his appeal and made

the determination”) (emphasis added). See also supra at 34-36.29

       Cloud does not ask this Court to reconsider its earlier decision. Nor is there any basis to

do so. There is no evidence that Defendant, Groom or anybody else manipulated or otherwise

affected the outcome of Cloud’s claim in order to require Cloud to file a lawsuit, which Cloud

characterizes as “Treat[ing] Litigation as Part of the Claims Process.” See Cloud Br. at 55. Indeed,

although the Plan receives “[r]oughly a thousand [claims] a year,” App. 212 at 198:11-15, the

Plan’s decisions have only been challenged in litigation 18 times in the last decade – meaning that

the system Cloud claims is designed to cause litigation results in litigation for well under one

percent of claims. Cloud’s claim that he cannot know with certainty “if his decision letter reflects

the Board’s actual decision,” Cloud Br. at 56, without suing and obtaining discovery on that issue,




29
   This is not the first time Cloud purports to incorporate by reference arguments on which he has
already litigated and lost, without acknowledging the Court’s prior decisions. Compare Dkt. 94
at 25 (arguing that “Cloud is entitled to a jury trial on his breach of fiduciary duty claims” which
is an “issue [that] has already been briefed” and purporting to incorporate by reference his briefing
at Dkt. 72) with Dkt. 77 at 1-2 (ruling that, after “[h]aving reviewed . . . ECF No. 72” “there is no
right to a jury trial in ERISA denial-of-benefits cases”) (alteration omitted). See also Dkt. 113
(ruling that, after “[h]aving reviewed . . . ECF No. 94” “the Court has previously ruled on this
issue” and reaffirming “that ‘there is no right to a jury trial in ERISA cases’”).

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is simply a repackaged version of his already rejected conspiracy theory that Groom makes the

decisions, even though the testimony unanimously established exactly the opposite.

       Finally, Cloud’s reliance on Keys and Dimry in support of his argument that de novo review

should apply is particularly misplaced given that the courts in those cases all applied the abuse of

discretion standard of review. See Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 855 F.

App’x 332, 333 (9th Cir. 2021) (”[r]eviewing for abuse of discretion the Plan’s denial of benefits”);

Dimry v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, No. 16-CV-01413-JD, 2018 WL 1258147,

at *3 (N.D. Cal. Mar. 12, 2018) (“the Board’s decision to deny benefits is reviewed for abuse of

discretion”); Keys v. Bert Bell/Pete Rozelle NFL Player Ret. Plan, 493 F. Supp. 3d 1147, 1168

(M.D. Fla. 2020) (“the abuse of discretion standard applies to the Board's benefits determination”).

See also Giles, 925 F. Supp. 2d at 714 (“the plan’s eligibility determination is subject to review

only for abuse of discretion”).

       F.      Cloud’s Other Scattershot Allegations Do Not Warrant De Novo Review.

               1.      Defendant Has Not Improperly Withheld Documents.

       Cloud claims that “Defendant has never complied with the Plan or ERISA in handling

Cloud’s various requests for information . . . .” Cloud Br. at 44. These claims are unsubstantiated

or demonstrably inaccurate.

       To begin, Cloud alleges:

       In 2006, [he] contacted the NFLPA to discuss availability of disability benefits and
       his medical records, who directed him to Defendant, and Cloud did so but received
       only partial documentation showing a 10 page “Medical Summary” of orthopedic
       injuries (without corresponding medical records), no medical records, and no
       documents of any kind regarding neurological injuries (including concussions) –
       including the 2004 Collision. The original version (secured over a decade later in
       this proceeding) contains 11 pages. The missing page covers most of Cloud’s
       career in 2004, including the 2004 Collision and after effects.




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Cloud Br. at 10. As support for this claim, Cloud cites his deposition testimony. Meanwhile, there

is no evidence to support Cloud’s allegation that he contacted the NFLPBO in 2006. The NFLPBO

never prepared or provided to Cloud the 10-page “medical summary.”30 In fact, Cloud provided

the “Medical Summary” to the NFLPBO with his 2009 application for LOD benefits. See

generally Medical Summary, App. 3087-97. See also App. 406 at 278:13-22 (“Q. Who prepared

this document? . . . A. It seems to have come from his application . . . If it came with Mr. Michael

Cloud’s application, I would assume Mr. Michael Cloud or some associate of his.”). The copy

that he provided then was not missing any pages.31 See Medical Summary at 9, App. 3095 (the

“missing page” covering Cloud’s 2004 career, including the October 31, 2004 concussion).

According to NFLPBO records, Cloud first contacted the NFLPBO in August 2008 to request a

disability application.   8/28/08 Contact History, App. 3784.        The NFLPBO provided the

application the same day. 8/28/08 Ltr. fr. P. Scott, App. 3098.

       Cloud alleges he “continued his frustrated efforts to obtain his records and the NFLPA and

PBO referred him to each other for his records.” Cloud Br. at 10. Once again, Cloud cites his own

deposition testimony to support this claim. There is no evidence to support Cloud’s allegation that

he continued efforts to obtain records of any kind from the NFLPBO, or that the NFLPBO failed




30
   The NFLPBO did not have Cloud’s medical records, and so it would have been impossible for
the NFLPBO to prepare that summary. See Dkt. 162 at 4 n.9 (“Early in this case, Cloud alleged
that Defendant had access to an electronic repository (“EMR”) of medical records maintained by
the NFL teams, but that is not true. The NFLPBO does not have, or seek independent access to, a
Player’s medical records, including any records maintained by NFL teams.”); id. at 2 n.7 (“The
NFL told Cloud . . . that the EMR does not contain Cloud’s records because Cloud left the NFL
years before it was developed.”).
31
   The copy of the “Medical Summary” that Cloud submitted with his 2014 application for T&P
benefits does appear to be missing one page, but the omission was Cloud’s, and it is irrelevant to
the outcome of his 2014 T&P application and his 2016 request for reclassification.

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to respond to or comply with his requests. Similarly, there is no evidence in the documents

produced by the NFLPA that he ever contacted them to request records.

       Cloud states that “[i]n 2007, [he] fell behind on his Rhode Island home mortgage payments

and both he and his lender sought information from Defendant to explore available benefits, access

401(k), and facilitate loan modification, but Defendant remained nonresponsive.” Cloud Br. at 10.

As support, Cloud cites his deposition. There is no evidence showing that Cloud contacted the

NFLPBO in 2007 to “explore available benefits” or for any other reason. Cloud was not receiving

disability or retirement benefits in 2007, so Defendant would have had little information to

provide, and no reason to provide it to Cloud’s “lender” without Cloud’s express, written

authorization (which does not exist).

       Cloud claims that at some point in 2007 or 2008 he “spoke with the PBO ([Sarah] Gaunt

and Paul Scott (‘Scott’)) who again advised him he did not qualify for T&P Benefits and to apply

for LOD Benefits and worker’s compensation.” Cloud Br. at 11 (emphasis omitted). As support,

Cloud points to his deposition testimony. Yet again, nothing corroborates Cloud’s claim that he

contacted Paul Scott or Sarah Gaunt, or that they advised him in any way regarding Plan benefits

or workers’ compensation benefits, for that matter. It is also not accurate that “[a]t least one Board

member is aware of the PBO’s alleged practice of steering former players to apply for LOD

Benefits rather than T&P Benefits.”32 See Cloud Br. at 11 & n.69.



32
  See App. 706 at 179:5-19 (“Q. So it wouldn’t be out of the question, if Mr. Cloud had called the
plan office and said, These are the symptoms I’m experiencing. What do I get to do? And
someone at the plan office doesn’t provide him a T&P application. . . . A. It . . . was my
understanding . . . that there was a checklist that the player or player representative would select,
that they could choose from multiple benefits in that line of disability, and total and permanent
were on the same form . . . .”). See also App. at 3080 (Cloud’s application in which he checked
the box for “Only line-of-duty (“LOD”) benefits” and did not check the box for “Both LOD and
T&P benefits”).

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       Cloud alleges that Defendant “withheld the original [Mandelbaum report] from [him].”

Cloud Br. at 12. Defendant did not withhold anything. Dr. Mandelbaum is a Plan Neutral

orthopedist who evaluated Cloud in connection with his 2009 LOD application. Cloud requested

some records surrounding that 2009 LOD application, but he never asked Defendant to provide a

copy of Dr. Mandelbaum’s report. See 4/15/10 E-mail fr. M. Cloud, App. 3791(requesting “a copy

of [his] recent Medical Evaluation” with Dr. Canizares and Dr. DiDio); 5/28/10 Memo. fr. P. Scott,

App. 2971 (providing Cloud copies of the requested reports from Drs. Canizares and DiDio).

When he requested portions of his file in December 2018, Defendant produced the Mandelbaum

report along with everything else. See Cloud Br. at 36-37 (acknowledging that Defendant

produced a copy of the Mandelbaum report in December 2018); 12/26/18 E-mail fr. S. Stefanski

App. 2563-2764 (forwarding Cloud copies of medical records submitted by him or on his behalf,

pursuant to his request for same); 1/18/19 E-mail fr. H. Coffman, App. 2491-3351 (producing

Cloud’s complete disability file as then maintained by the NFLPBO, pursuant to Cloud’s request).

       Finally, Cloud’s assertion that “the PBO . . . request[ed]” Mandelbaum to “change” his

report and that “Defendant has admitted the PBO participates in decisions this way,” Cloud Br. at

12, is misleading. The PBO did not ask Mandelbaum to change his diagnoses of Cloud, it simply

noted that his diagnoses correlated to different numbers in the American Medical Association

(“AMA”) guidelines the Plan was required to follow. See App. 3050-51, 3060-61. Not only does

Cloud’s assertion fail to show any nefarious conduct by the PBO, but the fact that the PBO was

checking to ensure that Neutral Physicians were correctly and consistently applying the AMA

guidelines further undermines his claim that the Plan failed to “ensure and verify . . . that, where

appropriate, the plan provisions have been applied consistently with respect to similarly situated

claimants.” Cloud Br. at 44. See also App. 547 at 129:18-25 (“From time to time, particularly, I



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know, within line-of-duty cases, we had issues on how some neutral physicians were interpreting

AMA guidelines that were applicable in line-of-duty cases, and we would – and we would get

varying interpretations of it that we tried to make more consistent. And if there was an obvious

mistake, we would point it out.”).

               2.     Defendant Substantially Complied With ERISA’s Procedural Regulations.

       The Court has already ruled that any alleged procedural violations will be assessed under

ERISA’s “substantial compliance” standard. Dkt. 71 at 7 (“[I]n accordance with Crosby, the Court

must monitor discovery closely and will therefore analyze whether discovery sought on each

alleged procedural violation would be relevant to the Court’s ultimate determination on substantial

compliance.”). Cloud does not acknowledge this standard or the Court’s prior ruling in his 63-

page brief and he has not shown, and cannot show that the Plan failed to substantially comply with

ERISA’s Claims Procedure.

       Cloud claims that the Committee’s 2014 and 2016 decision letters “fail[] to explain the

basis for the Committee’s decision or provide a description of information needed (and why) to

perfect the claim for T&P Benefits (Active Football).” Cloud Br. at 17-18; see also id. at 23. But

both decision letters explain that “[t]he Committee determined that you did not become totally and

permanently disabled within any possible “shortly after” period,” quoted the definition of “Shortly

After,” advised Cloud of his right to an appeal and to “submit written comments, documents and

any other information that you believe shows you qualify for these benefits,” and that it Cloud had

“any questions, please contact the Plan Office.” AR-283-85; see also id. at AR-480-82. The 2016

letter further explained that Cloud had not included “additional evidence of changed

circumstances” and that the “onset date for your Social Security Disability benefits was determined

to be December 31, 2008, which is also well after the ‘shortly after’ period.” AR-481.



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       Cloud did not cite a single case suggesting that these explanations were inadequate. To the

contrary, they “ensur[ed] that [Cloud] ha[d] the ability to ‘understand’ and ‘challenge’ and

administrator’s decision,”Morningred v. Delta Family-Care & Survivorship Plan, 526 F. App’x

217, 220 (3d Cir. 2013), as evidenced by the fact that he submitted a three-page single-spaced

appeal letter which attempted to address both the “shortly after” and “changed circumstances”

requirements. See AR-490-92. See also Wesson v. Jane Phillips Med. Ctr. & Affiliates Emp. Grp.

Healthcare Plan, Premium Plan, 870 F. Supp. 2d 1263, 1269-70 (N.D. Okla. 2012) (“Plaintiff’s

argument is undercut by the information presented in her initial appeal letter” which “demonstrates

that Plaintiff understood that the claims were denied under the Plan’s limitation of benefits for

procedures related to morbid obesity treatment, and Plaintiff was able to perfect an appeal of that

decision. As a result, the Court that BMI was substantially compliant with ERISA procedures with

regard to the initial denial notices.”). Finally, Cloud “has failed to demonstrate . . . prejudice” by

“present[ing] any evidence that implies that a different outcome would have resulted” if additional

information had been included in the Committee’s letters. See Terry v. Bayer Corp., 145 F.3d 28,

39 (1st Cir. 1998).33

       Cloud’s claim that the Committee’s 2016 decision letter “cites Section 13.3 of the Plan –

which does not exist,” Cloud Br. 35-36, is nothing more than a typo in the appendix to that letter,

as Defendant has already pointed out. Compare AR-523 (referring to the “Receipt of Documents”



33
   Terry also explains that the Claims Procedure does not require “an administrator . . . to inform
[claimant] of ‘what additional information [he] should include in order to win his appeal.’” Id.
See also Walsh v. Empire Blue Cross/Blue Shield, Inc., No. 16-CV-3746-DRH, 2018 WL 2324066,
at *8 (E.D.N.Y. May 22, 2018) (“Given the nature of the denial, there was no further information
that was needed from Plaintiff.”). Cloud’s similar complaints about the Board’s decision letter are
similarly without merit, see Cloud Br. at 35, and he has clearly suffered no prejudice in his ability
to file an appeal, particularly given that he has been permitted to file an Amended Complaint and
received extensive discovery in this case. See Cloud Br. at 35.

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provision as “Section 13.3 of the Plan”) with AR-064 (listing the “Receipt of Documents”

provision as Section 12.8 of the Plan). See also Dkt. 98 at 8 (providing this same explanation of

the typo). Cloud does not identify any prejudice as a result of this typo.

       Finally, both parties have mentioned the possibility of seeking fees incurred on this case,

so there is no basis for Cloud to suggest it is inappropriate for Defendant to reserve this possibility.

What is inappropriate is Cloud’s misuse in his dispositive motion of concepts and particulars of

fee shifting raised only in the court-ordered mediation in violation of the Federal Rule of Evidence

408. See Cloud Br. at 43-44 (concluding the introductory paragraph to his argument about why

de novo review should apply by complaining that Defendant has “given so much effort [to]

dragging him through litigation while threatening to seek sanctions to recover in excess of $1

million in attorney’s fees”); Fed. R. Evid. 408(a) (prohibiting the use as evidence “statement[s]

made during compromise negotiations” “to provide or disprove the validity or amount of a

disputed claim”). In any event, Cloud’s umbrage at Defendant’s supposed position on its fees is

another red herring having nothing to do with the applicable standard of review or the merits of

Cloud’s claims, which is all that is presently before the Court.

III.   There Is No Basis To Remand The Matter to the Board or for a Trial.

       Defendant agrees with Cloud that remand is not necessary in this case and that the Court

should issue a decision as to whether the Board erred in determining Cloud’s eligibility for

benefits. See Cloud Br. at 41. The material facts in this case are narrow and clear, and the Board’s

decision must be affirmed regardless of whether the Court applies a de novo standard of review or

an abuse of discretion standard of review.

       Given that there “is no genuine dispute as to any material fact,” Fed. R. Civ. P. 56(a),

summary judgment under Rule 56 is appropriate. While Cloud notes that some authority supports



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the use of a trial on the papers under Rule 52 as an alternative to summary judgment, see Cloud

Br. at 38-39, Cloud has not identified any material factual disputes he believes require the use of

a trial on the papers. To the extent the Court believes there are any issues that may require the use

of Rule 52, Defendant will be prepared to discuss those issues and the scope of any such proceeding

during the pretrial conferences scheduled for April 11 and April 15, 2022.


                                         CONCLUSION

       The Court should deny Plaintiff’s Motion for Judgment on the Administrative Record and

affirm the Board’s decision for the reasons set forth herein and in Defendant’s Motion for

Summary Judgment, Dkt. 161.




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Dated: March 21, 2022                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I certify that on March 21, 2022, the foregoing DEFENDANT’S OPPOSITION TO

PLAINTIFF’S MOTION FOR JUDGMENT ON THE ADMINISTRATIVE RECORD AND

OTHER EVIDENCE OF PLAN INTERPRETATIONS AND VIOLATIONS OF ERISA

(PURSUANT TO FRCP 52(a)) OR, ALTERNATIVELY, MOTION FOR SUMMARY

JUDGMENT was filed with the Clerk of Court via CM/ECF, which will automatically deliver

notice of the filing to all counsel of record. I further certify that an unredacted copy of this brief

was emailed to all counsel of record.



                                                           Michael L. Junk, pro hac vice




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